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03/19/2021 09:08 AM CDT




                                                        - 253 -
                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                   STATE EX REL. COUNSEL FOR DIS. v. PALAGI
                                              Cite as 308 Neb. 253



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                                v. Ronald J. Palagi, respondent.
                                                   ___ N.W.2d ___

                                        Filed January 22, 2021.   No. S-20-762.

                    Original action. Judgment of public reprimand.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               and Freudenberg, JJ.

                    Per Curiam.
                                     INTRODUCTION
                  This case is before the court on the conditional admission
               filed by Ronald J. Palagi, the respondent, on December 11,
               2020. The court accepts the respondent’s conditional admission
               and enters an order of public reprimand.

                                           FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on January 28, 1975. At all times relevant to
               these proceedings, the respondent was engaged in the practice
               of law in Omaha, Nebraska.
                  On October 22, 2020, the Counsel for Discipline of the
               Nebraska Supreme Court, the relator, filed formal charges
               against the respondent. The formal charges consisted of one
               count. Pursuant to Neb. Ct. R. § 3-302, the respondent is under
               the jurisdiction of the Committee on Inquiry of the Fourth
               Judicial District (Committee).
                              - 254 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. PALAGI
                       Cite as 308 Neb. 253
   The matters alleged in the formal charges were reviewed
by the Committee pursuant to Neb. Ct. R. § 3-309(H) (rev.
2011). The Committee determined that there are reasonable
grounds for discipline of the respondent and that a public inter-
est would be served by the filing of formal charges.
   The formal charges generally allege violations stemming
from the respondent’s failure to challenge an arbitration award
within the required timeframe, which ultimately cost his client
$46,240. The respondent also had a personal conflict of interest
in this case but proceeded to represent the client without first
obtaining written consent from the client.
   The formal charges allege that by his actions, the respondent
violated his oath of office as an attorney licensed to practice
law in the State of Nebraska as provided by Neb. Rev. Stat.
§ 7-104 (Reissue 2012) and violated Neb. Ct. R. of Prof. Cond.
§§ 3-501.1 (rev. 2017) (competence), 3-501.3 (diligence),
3-501.7(a)(2) (rev. 2019) (conflict of interest: current clients),
and 3-508.4(a) (rev. 2016) (misconduct).
   On December 11, 2020, the respondent filed a conditional
admission pursuant to Neb. Ct. R. § 3-313(B) of the discipli­
nary rules, in which he conditionally admitted that he violated
his oath of office as an attorney and §§ 3-501.1 (competence),
3-501.3 (diligence), 3-501.7(a)(2) (conflict of interest: cur-
rent clients), and 3-508.4(a) (misconduct) of the professional
conduct rules. In the conditional admission, the respondent
admits that his conduct violated the identified rules of profes-
sional conduct. The respondent knowingly does not challenge
or contest the truth of the matters conditionally asserted and
waived all proceedings against him in exchange for a pub-
lic reprimand.
   The proposed conditional admission included a declara-
tion by the Counsel for Discipline, stating that the respond­
ent’s proposed discipline is appropriate under the facts of
this case.
                             - 255 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. PALAGI
                      Cite as 308 Neb. 253
                          ANALYSIS
   Section 3-313, which is a component of our rules governing
procedures regarding attorney discipline, provides in perti-
nent part:
        (B) At any time after the Clerk has entered a Formal
     Charge against a Respondent on the docket of the Court,
     the Respondent may file with the Clerk a conditional
     admission of the Formal Charge in exchange for a stated
     form of consent judgment of discipline as to all or part of
     the Formal Charge pending against him or her as deter-
     mined to be appropriate by the Counsel for Discipline
     or any member appointed to prosecute on behalf of the
     Counsel for Discipline; such conditional admission is
     subject to approval by the Court. The conditional admis-
     sion shall include a written statement that the Respondent
     knowingly admits or knowingly does not challenge or
     contest the truth of the matter or matters condition-
     ally admitted and waives all proceedings against him or
     her in connection therewith. If a tendered conditional
     admission is not finally approved as above provided, it
     may not be used as evidence against the Respondent in
     any way.
   Pursuant to § 3-313, and given the conditional admission,
we find that the respondent knowingly does not challenge or
contest the matters conditionally admitted. We further deter-
mine that by his conduct, the respondent violated §§ 3-501.1
(competence), 3-501.3 (diligence), 3-501.7(a)(2) (conflict
of interest: current clients), and 3-508.4(a) (misconduct) of
the professional rules and his oath of office as an attor-
ney licensed to practice law in the State of Nebraska. The
respondent has waived all additional proceedings against him
in connection herewith. Upon due consideration, the court
approves the conditional admission and enters the orders as
indicated below.
                             - 256 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. PALAGI
                       Cite as 308 Neb. 253
                          CONCLUSION
   The respondent is publicly reprimanded. If the respondent
applies to appear pro hac vice, he must disclose this discipline.
The respondent is directed to pay costs and expenses in accord­
ance with Neb. Ct. R. §§ 3-310(P) (rev. 2019) and 3-323 of the
disciplinary rules within 60 days after an order imposing costs
and expenses, if any, is entered by the court.
                              Judgment of public reprimand.
   Papik, J., not participating.
